       Case 1:18-cv-05391-SCJ          Document 169   Filed 12/17/19      Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
FAIR FIGHT ACTION, et al.,

       Plaintiffs
                                                      Civil Action File
v.
                                                      No. 1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, in his official
Capacity as Secretary of State of Georgia; et al.,

       Defendants.


           NOTICE OF WITHDRAWAL OF ANDREW M. SWINDLE

       Comes now Counsel for State Defendants and pursuant to Rule 83.1(E)(2),

hereby submits this Notice of Withdrawal of Andrew M. Swindle as Attorney of

Record who is no longer with the firm Robbins Ross Alloy Belinfante Littlefield

LLC in the above matter. This notice is effective upon filing.

       This 17th day of December, 2019.
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Case 1:18-cv-05391-SCJ   Document 169     Filed 12/17/19     Page 2 of 4




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                                -2-
      Case 1:18-cv-05391-SCJ     Document 169     Filed 12/17/19   Page 3 of 4




                         L.R. 7.1(D) CERTIFICATION

      I certify that this Notice has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C). Specifically, this Notice

has been prepared using 14-pt Times New Roman Font.



                                       /s/ Josh Belinfante
                                       Josh Belinfante
                                       Georgia Bar No. 047399
      Case 1:18-cv-05391-SCJ    Document 169    Filed 12/17/19   Page 4 of 4




                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing NOTICE

OF WITHDRAWL OF ANDREW M. SWINDLE with the Clerk of Court using

the CM/ECF system, which will automatically send counsel of record e-mail

notification of such filing.

      This 17th day of December, 2019.

                               /s/ Josh Belinfante
                               Josh Belinfante
                               Georgia Bar No. 047399
